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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


RAY CAPLINGER,

   Plaintiff,                                       CASE NO.:

-VS-

ALLY FINANCIAL INC. and
AMERICAN SUZUKI FINANCIAL
SERVICES COMPANY LLC.,

   Defendants.
                                     /

                                          COMPLAINT

       COMES NOW, Plaintiff, RAY CAPLINGER, by and through the undersigned counsel,

and sues Defendants, ALLY FINANCIAL INC., and AMERICAN SUZUKI FINANCIAL

SERVICES COMPANY LLC., and in support thereof respectfully alleges violations of the

Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                                         INTRODUCTION

       1.       The TCPA was enacted to prevent companies like ALLY FINANCIAL INC. and

AMERICAN SUZUKI FINANCIAL SERVICES COMPANY LLC., from invading American

citizens’ privacy and prevent abusive “robo-calls.”

       2.       “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, –US--, 132 S.Ct. 740, 745,

181 L.Ed.2d 881 (2012).

       3.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner at


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night; they force the sick and elderly out of bed; they hound us until we want to rip the telephone

out of the wall.’ 137 Cong. Rec. 30, 821 (1991) Senator Hollings presumably intended to give

telephone subscribers another option: telling the autodialers to simply stop calling.” Osario v.

State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       4.      “No one can deny the legitimacy of the state’s goal: Preventing the phone (at

home or in one’s pocket) from frequently ringing with unwanted calls. Every call uses some of

the phone owner’s time and mental energy, both of which are precious. Most members of the

public want to limit calls, especially cellphone calls, to family and acquaintances, and to get their

political information (not to mention their advertisements) [*6] in other ways.”             Patriotic

Veterans v. Zoeller, No. 16-2059, 2017 U.S. App. LEXIS 47, at *5-6 (7th Cir. Jan 3, 2017).

       5.      According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014." https://www.fcc.gov/document/fact-sheet-consumer-protection-

proposal.

                                 JURISDICTION AND VENUE

       6.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

       7.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See




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Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11th Cir. 2014).

       8.      The alleged violations described herein occurred in Shelby County, Tennessee.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.

                                 FACTUAL ALLEGATIONS

       9.      Plaintiff is a natural person, and citizen of the State of Tennessee, residing in

Memphis, Shelby, Tennessee.

       10.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

       11.     Defendant, ALLY FINANCIAL INC. (hereinafter “Ally”) is a corporation which

was formed in Delaware with its principal place of business located at 500 Woodward Ave FL

10, Detroit, MI 48226, doing business in the State of Tennessee through its registered agent, CT

Corporation System, located at 800 S Gay St Ste 2021., Knoxville, TN, 37929.

       12.     Defendant, AMERICAN SUZUKI FINANCIAL SERVICES COMPANY LLC

(hereinafter “American Suzuki”) is a corporation with its principal place of business located at

7159 Corkland Dr, Jacksonville, FL 32258, and which conducts business in the State of

Tennessee through its registered agent, CT Corporation System, located at 800 S Gay St Ste

2021., Knoxville, TN, 37929.

       13.     Plaintiff was/is the regular user and carrier of the cellular telephone numbers at

issue, (904) *** - 2452, and (901) *** - 1803, and was the called party and recipient of

Defendants’ hereinafter described calls.


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       14.     In or about November of 2013, Ally initiated its campaign of automated telephone

calls to the Plaintiff on his aforementioned cellular telephone. Upon receipt of the calls from

Defendant, Plaintiff’s caller ID identified the calls were being initiated from, but not limited to,

the following phone numbers: (855) 856-2559 and (844) 421-2593 and when those numbers are

called, a pre-recorded message answers “Thank you for calling Ally Financial. We are trying to

collect the amount our records indicate you owe us now. Any information we obtain will be used

for this purpose. Please hold for the next available agent. Your call may be monitored and/or

recorded for quality purposes.”

       15.     In or about November of 2013, American Suzuki initiated its campaign of

automated telephone calls to the Plaintiff on his aforementioned cellular telephone. Upon receipt

of the calls from Defendant, Plaintiff’s caller ID identified the calls were being initiated from,

but not limited to, the following phone numbers: (855) 306-6940 and (888) 803-3174 and when

those numbers are called, a pre-recorded message answers “Hello and welcome to American

Suzuki Financial Services. Para asistencia en Español, por favor oprima el dos. You can also

visit us twenty four hours a day online at www.Suzukiss.com for must account inquires. Please

enter your account number or social security number followed by the pound key, to re-enter your

information, press the star key.”

       16.     Upon information and belief, some or all of the calls the Defendant made to

Plaintiff’s cellular telephone number(s) from Ally were made using an “automatic telephone

dialing system” which has the capacity to store or produce telephone numbers to be called,

without human intervention, using a random or sequential number generator (including but not

limited to a predictive dialer) or an artificial or prerecorded voice; and to dial such numbers as

specified by 47 U.S.C § 227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that he


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knew it was an autodialer because of the vast number of calls he received, and because when he

answered a call from the Defendant he would hear a pre-recorded message stating the call was

from Ally Financial, and to please hold the line for the next available representative.

       17.     Upon information and belief, some or all of the calls the Defendant made to

Plaintiff’s cellular telephone number(s) from American Suzuki were made using an “automatic

telephone dialing system” which has the capacity to store or produce telephone numbers to be

called, without human intervention, using a random or sequential number generator (including

but not limited to a predictive dialer) or an artificial or prerecorded voice; and to dial such

numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter “autodialer calls”). Plaintiff will

testify that he knew it was an autodialer because of the vast number of calls he received and

because when he answered a call from the Defendant he would hear a pre-recorded message

stating the call was from American Suzuki Financial Services, and to please hold the line for the

next available representative.

       18.     Furthermore, some or all of the calls at issue were placed by Ally and American

Suzuki using a “prerecorded voice,” as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

       19.     None of Ally or American Suzuki telephone calls placed to Plaintiff were for

“emergency purposes” as specified in 47 U.S.C. §227(b)(1)(A).

       20.     Ally and American Suzuki attempted to collect a debt from the Plaintiff by this

campaign of telephone calls.

       21.     In or about June of 2015, Plaintiff received a call from the Ally, met with an

extended pause, eventually was connected to a live representative, and informed that

agent/representative of Defendant that he was not late on his payment, that they were calling




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before the due date, and demanded that the Defendant cease placing calls to his aforementioned

cellular telephone number.

        22.    During the aforementioned phone conversation in or about June of 2015 with

Ally’s agent/representative, Plaintiff unequivocally revoked any express consent Defendant may

have had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone

number by the use of an automatic telephone dialing system or a pre-recorded or artificial voice.

        23.    Each subsequent call from Ally and American Suzuki made to the Plaintiff’s

aforementioned cellular telephone number was done so without the “express consent” of the

Plaintiff.

        24.    Each subsequent call from Ally and American Suzuki made to the Plaintiff’s

aforementioned cellular telephone number was knowing and willful.

        25.    Additionally, in or about July of 2016, due to continued automated calls to his

aforementioned cellular telephone number from Ally, Plaintiff again received a call from Ally,

met with an extended pause, was eventually connected to a live agent/representative of

Defendant, and informed the agent/representative of Defendant that he had previously informed

them not to call his cellular phone, and again demanded that Defendant cease placing calls to his

aforementioned cellular telephone number.

        26.    Again, on or about September 27, 2016, due to the continued automated calls to

his aforementioned cellular telephone number from Ally, Plaintiff answered a call from Ally,

met with an extended pause, was eventually connected to a live agent/representative of Ally, and

demanded that Defendant cease placing calls to his aforementioned cellular telephone number.

        27.    Despite actual knowledge of their wrongdoing, Ally and American Suzuki

continued the campaign of abuse, calling the Plaintiff despite the Plaintiff revoking any express


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consent Ally and American Suzuki may have had to call his aforementioned cellular telephone

number.

       28.     On at least six (6) separate occasions, Plaintiff has either answered a call from

Ally and American Suzuki or returned a call to Defendants regarding his account, held the line to

be connected to a live representative, and demanded that Defendants cease placing calls to his

aforementioned cellular telephone number. His principal reason for answering these calls and

making these demands of Ally and American Suzuki was the cumulative injury and annoyance

he suffered from the calls placed by Ally and American Suzuki. These injuries are further

described in paragraphs 33 through 46 herein.

       29.     Each of the Plaintiff’s requests for the harassment to end was ignored.

       30.     From about June of 2015 through the filing of this Complaint, Ally has placed

approximately five hundred (500) actionable calls to Plaintiff’s aforementioned cellular

telephone number. (Please see attached Exhibit “A” representing a non-exclusive call log of

sixteen (16) calls from September 8, 2016 through November 23, 2016).

       31.     From about June of 2015 through the filing of this Complaint, American Suzuki

has placed approximately five hundred (500) actionable calls to Plaintiff’s aforementioned

cellular telephone number. (Please see attached Exhibit “B” representing a non-exclusive call

log of thirty-two (32) calls from September 16, 2016 through November 21, 2016).

       32.     Ally intentionally harassed and abused Plaintiff on numerous occasions by calling

multiple times during one day, and on back to back days, with such frequency as can reasonably

be expected to harass.




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       33.     From each and every call placed without express consent by Ally to Plaintiff’s

cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon his right of

seclusion.

       34.     From each and every call without express consent placed by Ally to Plaintiff’s

cell phone, Plaintiff suffered the injury of the occupation of his cellular telephone line and

cellular phone by unwelcome calls, making the phone unavailable for legitimate callers or

outgoing calls while the phone was ringing from Defendant’s calls.

       35.     From each and every call placed without express consent by Ally to Plaintiff’s

cell phone, Plaintiff suffered the injury of unnecessary expenditure of his time. Plaintiff had to

waste time to deal with missed call notifications and call logs that reflect the unwanted calls.

This also impaired the usefulness of these features of Plaintiff’s cellular phone, which are

designed to inform the user of important missed communications.

       36.     Each and every call placed without express consent by Ally to Plaintiff’s cell

phone was an injury in the form of a nuisance and annoyance to the Plaintiff. For calls that were

answered, Plaintiff had to go through the unnecessary trouble of answering them. Even for

unanswered calls, Plaintiff had to deal with missed call notifications and call logs that reflected

the unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular

phone, which are designed to inform the user of important missed communications.

       37.     Each and every call placed without express consent by Ally to Plaintiff’s cell

phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell phone’s battery power.

       38.     Each and every call placed without express consent by Ally to Plaintiff’s cell

phone resulted in the injury of a trespass to Plaintiff’s chattel, namely his cellular phone and his

cellular phone services.


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        39.     As a cumulative result of Ally’s campaign of unlawful calls to Plaintiff’s

aforementioned cellular telephone number, Plaintiff suffered the injuries of annoyance,

intimidation, and emotional distress.

        40.     From each and every call placed without consent by American Suzuki to the

Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon

his right of seclusion.

         41.    From each and every call placed without consent by American Suzuki to the

Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of his cellular telephone line

and cellular phone by unwelcome calls, making the cellular telephone unavailable for legitimate

callers or outgoing calls while the phone was ringing from American Suzuki’s call.

        42.     From each and every call placed without consent by American Suzuki to the

Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of his time. For

calls he answered, the time he spent on the call was unnecessary. Even for unanswered calls, the

Plaintiff had to waste time to deal with missed call notifications and call logs that reflected the

unwanted calls. This also impaired the usefulness of these features of the Plaintiff’s cellular

phone, which are designed to inform the user of important missed communications.

        43.     Each and every call placed without consent by American Suzuki to the Plaintiff’s

cell phone was an injury in the form of a nuisance and annoyance to the Plaintiff. For calls that

were answered, the Plaintiff had to go through the unnecessary trouble of answering them. Even

for unanswered calls, the Plaintiff had to address the missed calls notifications and call logs

reflecting the unwanted calls.     This also impaired the usefulness of these features of the

Plaintiff’s cellular phone, which are designed to inform the user of important missed

communications.


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         44.   Each and every call placed without consent by American Suzuki to the Plaintiff’s

cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell phone’s battery

power.

         45.   Each and every call placed without consent by American Suzuki to the Plaintiff’s

cell phone resulted in the injury of a trespass to the Plaintiff’s chattel, namely his cellular phone

and his cellular phone services.

         46.   As a cumulative result of American Suzuki’s campaign of unlawful calls to

Plaintiff’s aforementioned cellular telephone number, Plaintiff suffered the injuries of

annoyance, intimidation, and emotional distress.

         47.   Ally and American Suzuki’s have corporate policies structured so as to continue

to call individuals like the Plaintiff, despite these individuals explaining to Defendants they do

not wish to be called.

         48.   Ally and American Suzuki’s corporate policy provided no means for Plaintiff to

have Plaintiff’s number removed from Defendants’ call list.

         49.   Ally and American Suzuki have numerous other federal lawsuits pending against

them alleging similar violations as stated in this Complaint.

         50.   Ally and American Suzuki have numerous complaints against them across the

country asserting that its automatic telephone dialing system continues to call despite being

requested to stop.

         51.   Ally and American Suzuki have had numerous complaints against them from

consumers across the country asking to not be called; however, Defendants continue to call these

individuals.

         52.   Ally and American Suzuki violated the TCPA with respect to the Plaintiff.


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        53.     Ally and American Suzuki willfully and/or knowingly violated the TCPA with

respect to the Plaintiff.

                                              COUNT I
                                      ALLY FINANCIAL INC.
                                       (Violation of the TCPA)

        54.     Plaintiff realleges and incorporates paragraphs one (1) through thirty-nine (39)

and forty-seven (47) through fifty-three (53) above as if fully set forth herein.

        55.     Defendant, Ally, willfully violated the TCPA with respect to Plaintiff, specifically

for each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified

Defendant that Plaintiff did not wish to receive any telephone communication from Defendant,

and demanded for the calls to stop.

        56.     Defendant, Ally, repeatedly placed non-emergency telephone calls to Plaintiff’s

cellular telephone using an automatic telephone dialing system or prerecorded or artificial voice

without Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Ally Financial Inc. for statutory damages, treble damages, punitive damages,

actual damages and any other such relief the court may deem just and proper.

                                   COUNT II
                 AMERICAN SUZUKI FINANCIAL SERVICES COMPANY LLC.
                             (Violation of the TCPA)

        57.     Plaintiff realleges and incorporates paragraphs one (1) through thirty-one (31) and

forty (40) through fifty-three (53) above as if fully set forth herein.

        58.     Defendant, American Suzuki, willfully violated the TCPA with respect to

Plaintiff, specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone after


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Plaintiff notified Defendant that Plaintiff did not wish to receive any telephone communication

from Defendant, and demanded for the calls to stop.

       59.     Defendant, American Suzuki, repeatedly placed non-emergency telephone calls to

Plaintiff’s cellular telephone using an automatic telephone dialing system or prerecorded or

artificial voice without Plaintiff’s prior express consent in violation of federal law, including 47

U.S.C § 227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against American Suzuki Financial Services Company LLC. for statutory damages,

treble damages, punitive damages, actual damages and any other such relief the court may deem

just and proper.

                                              Respectfully Submitted,
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